                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        AT GREENEVILLE


  HOLSTON UNITED METHODIST HOME FOR
  CHILDREN, INC,                    )
                                    )
     Plaintiff,                     )
                                    )
  v.                                )                            No. 2:21−cv−00185−TAV−CRW
                                    )
  XAVIER BECERRA, et al.,           )
                                    )
     Defendant.                     )



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